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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-shl
INC.1,
                                                               :
                           Debtor.                             :
---------------------------------------------------------------X

                                       CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                          )
                                                 )
    COUNTY OF LOS ANGELES                        )

        I, Mary de Leon, am over the age of eighteen years and am employed by Pachulski Stang

Ziehl & Jones LLP, located at 10100 Santa Monica Blvd., 13th Fl., Los Angeles, CA 90067. I am

not a party to the above-captioned case.

        On July 21, 2023, in addition to service via the Court’s ECF system, I caused a true and

correct copy of the following documents to be served via electronic mail upon the parties set forth

on the service list annexed hereto as Exhibit 1 and via U.S. Mail, first class postage, delivery upon

the parties set forth on the service list annexed hereto as Exhibit 2.

    Certificate of No Objection Regarding Eleventh Monthly Fee Statement of Pachulski Stang
     Ziehl & Jones LLP [Docket No. 578];

    Eighth Monthly Fee Statement of Dundon Advisers LLC for Compensation for Services
     Rendered and Reimbursement of Expenses Incurred as Co-Financial Advisor to The Official
     Committee of Unsecured Creditors for the Period from March 1, 2023, through March 31,
     2023 [Docket No. 579];

    Ninth Monthly Fee Statement of Dundon Advisers LLC for Compensation for Services
     Rendered and Reimbursement of Expenses Incurred as Co-Financial Advisor to The Official
     Committee of Unsecured Creditors for the Period from April 1, 2023, through April 30, 2023
     [Docket No. 580];



1
The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.
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   Tenth Monthly Fee Statement of Dundon Advisers LLC for Compensation for Services
    Rendered and Reimbursement of Expenses Incurred as Co-Financial Advisor to The Official
    Committee of Unsecured Creditors for the Period from May 1, 2023, through May 31, 2023
    [Docket No. 581]; and

   Eleventh Monthly Fee Statement of Dundon Advisers LLC for Compensation for Services
    Rendered and Reimbursement of Expenses Incurred as Co-Financial Advisor to The Official
    Committee of Unsecured Creditors for the Period from June 1, 2023, through June 30, 2023
    [Docket No. 582].

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.
Dated this 21st day of July 2023.
                                                     /s/Mary de Leon
                                                     Mary de Leon




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                                             EXHIBIT 1


                                              Via Email

              NAME                        NOTICE NAME                         EMAIL
PAUL, WEISS, RIFKIND, WHARTON      ALAN K. KORNBERG              AKORNBERG@PAULWEISS.COM
& GARRISON LLP                     ANDREW M. PARLEN              APARLEN@PAULWEISS.COM
                                   JOHN T. WEBER                 JWEBER@PAULWEISS.COM
                                   SHAFAQ HASAN                  SHASAN@PAULWEISS.COM

THE OFFICE OF THE U.S. TRUSTEE     US FEDERAL OFFICE BUILDING    USTPREGION02.NYECF@USDOJ.GOV
                                   ANDREA B SCHWARTZ             ANDREA.B.SCHWARTZ@USDOJ.GOV
                                   TARA TIANTIAN                 TARA.TIANTIAN@USDOJ.GOV




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                                         EXHIBIT 2

                                         via U.S. Mail


Mr. Tim McChristian
c/o Madison Square Boys and Girls Club, Inc.
250 Bradhurst Avenue
New York, NY 10039




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